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UNI'I‘ED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20359-Ml

UNI SALVO LOYA
Defendant.

 

ORDER ON CI'I.A.NGE OF PLEA

 

This cause came on to be heard on July 13, 2005, the United States
Attorney for this district, David Henry, appearing for the Government
and the defendant, Unisalvo Loya, appearing in person and with counsel,
Bruce Griffey, who represented the defendant. Spanish Interpreter,
Estela Mendoza, interpreted for the Court.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, OCTOBER 11, 2005, at
9:00 a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the r4 day of July, 2005.

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PI'IIPPS MCCALLA
ITED STATES DISTRICT COURT

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w|th Ftu|e 135 and/or 32(b) FHCrP on 2‘££{2 2

     

UNITED `SATES DISTRICT COURT - WESTERN D'S'TRCT oFTENNESSEE

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Bruce I. Griffey

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Honorable J on McCalla
US DISTRICT COURT

